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                               No. 17-70012
                       ____________________________

                           IN THE
               UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                       ___________________________

                             Steven Lawayne Nelson,
                               Petitioner-Appellant,

                                        v.

       Bobby Lumpkin, Director, Texas Department of Criminal Justice,
                   Correctional Institutions Division,
                          Respondent-Appellee,
                    ___________________________

               On Appeal from the United States District Court
            For the Northern District of Texas, Fort Worth Division
                        Civ. Action No. 4:16-cv-904-A
                      ___________________________

                  PETITION FOR REHEARING EN BANC

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                 CERTIFICATE OF INTERESTED PERSONS
       The undersigned counsel of record certifies that the following persons have
an interest in the outcome of this case. These representations are made in order that
the Judges of this Court may evaluate possible disqualifications or recusals:

      Petitioner-Appellant:

             Steven Lawayne Nelson

      Counsel for Petitioner-Appellant:

             Lee B. Kovarsky, Phillips Black, Inc.; Meaghan Vergow, O’Melveny &
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                                               /s/ Lee B. Kovarsky
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                   FEDERAL RULE 35(B)(1) STATEMENT

      Based on reasoned and studied professional judgment, undersigned counsel
believes that this proceeding involves the following question of exceptional
importance that must either be considered to ensure Fifth Circuit uniformity or to
resolve disagreement with Sister Circuits:

      Under the Fifth Circuit’s “fundamental alteration” test, can 28 U.S.C.
§ 2254(d) preclude relitigation of a claim consisting entirely of allegations and
evidence not presented to a state court?

       The Panel’s decision conflicts with the following federal habeas decisions of
the Fifth Circuit:

             Ward v. Stephens, 777 F.3d 250, 258 (5th Cir. 2015)
             Escamilla v. Stephens, 749 F.3d 380 (5th Cir. 2014)
             Lewis v. Thaler, 701 F.3d 783 (5th Cir. 2012)
             Anderson v. Johnson, 338 F.3d 382 (5th Cir. 2003)

      Consideration by the en banc Court is necessary to resolve this exceptionally
important question, and to secure and maintain the uniformity of Fifth Circuit
decisions.




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    STATEMENT OF ISSUE MERITING EN BANC CONSIDERATION

      Under the Fifth Circuit’s “fundamental alteration” test, can 28 U.S.C.
§ 2254(d) preclude relitigation of a claim consisting entirely of allegations and
evidence not presented to a state court?

                                INTRODUCTION

      For the purposes of 28 U.S.C. § 2254(d), a federal-court claim is not the same

as a state-court claim, and was therefore not “adjudicated on the merits,” when it

would be a “fundamental alteration” of the state-court claim. See Escamilla v.

Stephens, 749 F.3d 380, 395 (5th Cir. 2014); Lewis v. Thaler, 701 F.3d 783, 791 (5th

Cir. 2012). The fundamental-alteration inquiry asks, with respect to a common set of

allegations, whether a federal habeas claimant “merely provide[s] additional

evidentiary support for his claim that was already presented and adjudicated in the

state court proceedings.” Escamilla, 749 F.3d at 395. As a corollary, a federal-court

claim was not “adjudicated on the merits” in state court if it includes materially

different evidence, materially different allegations, or would otherwise represent a

substantial change in the legal posture of the state-court claim. See Anderson v.

Johnson, 338 F.3d 382, 386-87 (5th Cir. 2003).

      The federal-court claim here was for ineffective-assistance-of-trial-counsel,

alleging that trial counsel failed to investigate Steven Nelson’s co-conspirators and,

as a result, allowed Nelson to be sentenced as the principal actor in the robbery-

gone-bad (“IATC-Participation claim”). The Panel held that § 2254(d) precluded



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merits review of the IATC-Participation claim because, in its view, the state court

had adjudicated that claim on the merits. The state-court claim, however, alleged a

deficient failure to investigate mitigation, and it contained neither evidence nor

allegations in common with the IATC-Participation claim. Nelson dramatically

expands the preclusive scope of § 2254(d) in contravention of existing circuit law,

and the en banc Court should therefore reconsider the Panel Opinion.

                    FACTS AND PROCEDURAL HISTORY

      On March 3, 2011, pastor Clinton Dobson was killed during the burglary of

his church in Arlington, Texas. Judy Elliot, the church’s secretary, was beaten. Police

arrested Nelson, who stated that he was a lookout during the robbery and that he

neither killed anyone nor expected anyone to get hurt. ROA.2158-59. The trial court

appointed William Ray and Stephen Bordon to represent Nelson. 1 C.R. 28-29.

Though Nelson insisted that he was not the violent assailant, trial counsel failed to

interview available witnesses who could have implicated accomplices Anthony

Springs and Claude Jefferson, whom Nelson placed at the scene. ROA.1824-37.

      The trial court gave the jury two avenues to convict Nelson: by (1) finding

that he was directly responsible for the murder; or (2) finding that he was a party to

a burglary by Springs and/or Jefferson and should have anticipated that a death was

likely to occur. On October 8, 2012, the jury found Nelson guilty. See 2 C.R. 401.

At sentencing, trial counsel asserted Nelson was not the sole assailant but offered no



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support beyond DNA expert testimony that certain DNA found at the crime scene

did not belong to Nelson or either victim. The jury resolved the Texas “anti-parties”

issue against him—finding that he intended or anticipated a killing—and sentenced

him to death. 2 C.R. 424-26.

      After Nelson’s unsuccessful appeal, the trial court appointed John Stickels as

Nelson’s state habeas lawyer. 2 C.R. 432. Stickels conducted no investigation of the

crime or whether other individuals were involved in the offense, and he spent only

four-and-a-half hours reviewing trial counsel’s files. See ROA.2037-42. Stickels

ultimately filed a state habeas application that contained eleven boilerplate claims

and four other non-cognizable challenges that were already denied on direct appeal,

as well as an unsubstantiated IATC claim that vaguely alleged that trial counsel failed

to “gather relevant records” in connection with a mitigation investigation.

ROA.1967. There was no claim or allegation related to the people Nelson named as

accomplices, Springs and Jefferson, or otherwise related to trial counsel’s failure to

investigate alternative assailants. The trial court recommended adoption of the

State’s proposed findings, which the Texas Court of Criminal Appeals (“TCCA”)

subsequently adopted when it denied relief.

      Federal habeas counsel reviewed trial counsel’s file and discovered that no

reasonable investigation into Springs’s and Jefferson’s involvement had taken place.

Nelson therefore made an IATC-Participation claim alleging that trial counsel failed



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to adequately investigate, prepare, and litigate how the participation of Springs and

Jefferson affected the death-worthiness of his offense. He then filed several motions

seeking fact-development services under 18 U.S.C. § 3599(f). ROA.3486-3510. He

also filed a motion to stay federal proceedings pending exhaustion (the “Rhines

stay”). ROA.3717. On March 29, 2017, the district court denied the § 3599(f)

motions, the Rhines stay, and relief on all underlying claims. ROA.3843-44.

      Crucially, the district court held that 28 U.S.C. § 2254(d) barred relitigation

of all federal-court IATC claims when any IATC claim was raised in state court. It

explained: “Clearly, [Supreme Court cases excusing default of IATC claims based

on the ineffectiveness of state habeas counsel] appl[y] only where the issue of

ineffective assistance of counsel was not raised in the state court[.]” Nelson v. Davis,

2017 WL 1187880, at *11 (N.D. Tex. Mar. 29, 2017). Relatedly, it observed that the

IATC-Participation claim was either part of or the same as the state-court IATC claim

because “the claim presented by state habeas counsel was ineffective assistance of

trial counsel with regard to mitigation evidence.” Id.

      On October 27, 2017, Nelson filed an Application for a Certificate of

Appealability (“COA”) on several claims, including the IATC-Participation Claim.

On March 12, 2020, this Court granted a COA on the IATC-Participation Claim,

deferred decisions on Mr. Nelson’s motions under § 3599(f) and for a Rhines stay,

and denied a COA on all other claims. Nelson v. Davis, 952 F.3d 651, 679 (5th Cir.



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2020). A divided Panel issued a published decision on June 30, 2023. Nelson v.

Lumpkin, 72 F.4th 649, 652-53 (5th Cir. 2023).

      The Panel majority affirmed the district court, concluding that Nelson’s IATC‐

Participation claim was the same as the state-court IATC claim—meaning that it was

adjudicated on the merits in state court proceedings—and that it was therefore

precluded under § 2254(d). Nelson, 72 F.4th at 652-53. The Panel applied this

Circuit’s “fundamental alteration” test for claim sameness, but concluded that the

allegations in the IATC-Participation claim formed the same IATC claim that the

state court adjudicated. Id. at 659-60. The Panel majority also reached the merits of

the IATC-Participation claim, holding that any deficiency was nonprejudicial. Id. at

660-62. Judge Dennis dissented, believing that the district court abused its discretion

in denying § 3599(f) services and the Rhines stay, and he concluded that the IATC-

Participation claim was “likely meritorious.” Id. at 663 (Dennis, J., dissenting). Most

importantly, he disagreed with the Panel’s understanding of § 2254(d), arguing that

“[The Panel] fails to meaningfully grapple with the case-specific differences in these

two claims” and observing that “state habeas counsel did not raise and the state court

did not adjudicate any claim based on the allegation that trial counsel failed to gather

evidence of Nelson’s diminished culpability for the murder.” Id. at 665.




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                                       ARGUMENT

         The Panel held that the IATC-Participation claim was the same as the state-

court IATC claim. The Panel therefore concluded that the IATC-Participation claim

was “adjudicated on the merits” in state court and was subject to the § 2254(d)

relitigation bar. The determination that the IATC-Participation claim was the same

as the state-court IATC claim was in error, and it conflicts with the “fundamental

alternation” test set forth in Escamilla v. Stephens, 749 F.3d 380, 395 (5th Cir. 2014),

Lewis v. Thaler, 701 F.3d 783, 791 (5th Cir. 2012), and several other related cases

discussed herein. Moreover, en banc review is worthwhile because the underlying

claim has merit.1

I.       THE PANEL’S DECISION CONFLICTS WITH THIS COURT’S
         LONGSTANDING PRECEDENT ABOUT WHEN FEDERAL-COURT
         AND STATE-COURT CLAIMS ARE THE SAME.

         A.    Under The Longstanding “Fundamental Alteration” Test, A
               Federal-Court Claim Is Not The Same As A State-Court Claim
               With Which It Shares No Allegations.

         The question of whether a federal-court claim is the same as a state-court

claim is critical because 28 U.S.C. § 2254(d) bars relitigation of claims “adjudicated



1
  The Panel majority stated that “Nelson has never argued that he could meet” the requirements of
§ 2254(e)(2), and it therefore concluded that he could not show he was entitled to § 3599(f)
services. Nelson, 72 F.4th at 657 n.2. But Mr. Nelson used his Reply to make numerous arguments
about why he sought admissible evidence, and Shinn v. Ramirez, 141 S.Ct. 2620 (2021), did not
resolve all of them. Petitioner-Appellant’s Reply at 21-25, Nelson v. Lumpkin, 72 F.4th 649 (No.
17-70012) (“Nelson Reply”). And if he is entitled to a Rhines stay, then any holding based on the
anticipated application of § 2254(e)(2) is premature.

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on the merits in State court proceedings,” subject to two exceptions not at issue here.

The “fundamental alteration” test for claim sameness was originally developed in

the exhaustion context. See, e.g., Ward v. Stephens, 777 F.3d 250, 258 (5th Cir. 2015);

Anderson v. Johnson, 338 F.3d 382, 386-87 (5th Cir. 2003).

      That test for sameness now controls the inquiry for whether, under

§ 2254(d), a federal-court claim was “adjudicated on the merits” in state court. As

applied in Escamilla v. Stephens and Lewis v. Thaler, the test is whether the federal-

court claim would be a fundamental alteration of any state court claim—and it draws

the line primarily by reference to whether additional evidence in support of state-

court allegations formed a new federal-court claim. See Escamilla, 749 F.3d at 395

(new federal evidence did not “fundamentally alter” the claim “but merely provided

additional evidentiary support”) (internal citations omitted); Lewis, 701 F.3d at 787

(claims are the same when new federal evidence “supplements” the state-court

claim, but not when the evidence “fundamentally alter[s]” it); see also Broadnax v.

Lumpkin, 987 F.3d 400, 407-10 (5th Cir. 2021) (applying the test to decide whether

additional evidence created a new claim); In re Young, 789 F.3d 518, 526 n.2 (5th

Cir. 2015) (same); Sells v. Stephens, 536 F. App’x 483, 492 (5th Cir. 2013) (same).

      The Issue Presented centers on the meaning of the fundamental alteration test.

In this Circuit, a federal-court claim “fundamentally alters” a claim in a state

application—and § 2254(d) cannot preclude relitigation of the claim in the federal



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proceeding—when the claim presented to the federal court (1) includes new, material

evidence that does more than supplement the existing record, see Escamilla, 749

F.3d at 395, (2) makes “crucial” new allegations, see Smith v. Quarterman, 515 F.3d

392, 400 (5th Cir. 2008), or (3) otherwise “places the claim[] in a significantly

different legal posture,” Anderson, 338 F.3d at 387 (internal quotation marks and

citations omitted). A federal-court claim consisting of allegations never presented to

the state court is not the same claim that was “adjudicated on the merits” in state

court.

         B.    Nelson’s IATC-Participation Claim Would Be A Fundamental
               Alteration Of The State-Court IATC Claim.

         Nelson’s IATC-participation claim represents a fundamental alteration of the

state-court IATC claim. The IATC-Participation claim alleges that, for a capital

conviction involving vicarious liability and requiring the anti-parties instruction at

sentencing, trial counsel unreasonably failed to explore crucial evidence that Nelson

had a secondary role in the offense.

         No remotely similar claim was presented in state court. Although Nelson

raised—and the state court adjudicated—an IATC claim involving counsel’s

performance at sentencing, that claim was fundamentally different from the IATC-

Participation Claim. “Claim 1” in the state habeas application alleged: “Applicant’s

Sixth Amendment right to counsel were [sic] violated when he received ineffective

assistance of counsel as a result of his legal team’s failure to adequately investigate

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and present mitigation evidence as required by Wiggins v. Smith [] and Lewis v.

Dretke [].” ROA.310.2 The state application further explains that Nelson’s “defense

team failed to investigate Applicant’s background, history, family, and friends and,

as a result, failed to discover relevant and important migration evidence that would

have made a difference in his punishment.” ROA.337.

        That state-court Wiggins claim has nothing to do with Nelson’s IATC-

Participation Claim; it contained no allegation of, or evidence related to, a failure to

investigate additional assailants or co-conspirators. That is why the TCCA adopted

findings describing the state-court claim as a claim about mitigation: “Applicant

alleges that he was denied effective assistance of counsel at trial with regard to the

investigation and presentation of mitigating evidence.” ROA.3188.

        C.    The Panel’s Holding Is Inconsistent With Escamilla, Ward, Lewis,
              and Anderson.

        The IATC claim presented and adjudicated in state court had no allegations

that appear in the IATC-Participation claim alleged in federal court. This is not a

claim that, as the Panel characterizes it, “evolved” with the addition of new evidence

in support of existing allegations. Nelson, 72 F.4th at 658. The only thing the IATC-




2
  State post-conviction counsel included several IATC claims associated with a failure to
investigate fetal alcohol spectrum disorder (“FASD”), see ROA.313-14, although these claims
were inapplicable and cut-and-pasted from other briefing. State post-conviction counsel even
failed to change the claimant’s name, referring to the claimant as “Tony.” The Director has never
disputed this characterization of the state-court FASD claims, nor did the Panel.

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Participation claim has in common with the claim alleged in state court is that they

are IATC theories.

      The Panel held that Nelson is consistent with Lewis and Escamilla, but that’s

impossible. With respect to Lewis, the Panel remarked: “[Lewis] did not hold that a

state prisoner could avoid § 2254(d)’s limitations by presenting new evidence that

fundamentally altered a claim already adjudicated in state court proceedings.”

Nelson, 72 F.4th at 658 (emphasis added). But Nelson never suggested that Lewis

was such an escape hatch, and Lewis indeed bars an end around § 2254(d) “by

presenting new evidence.” Nelson, however, does not present a scenario where the

difference between federal-court and state-court claims is simply supplemental

evidence in support of the state-court allegations.

      Escamilla is equally inconsistent with Nelson. The Panel held that Escamilla

did not recognize a “loophole around § 2254(d)’s limitations.” Nelson, 72 F.4th at

658-59. Mr. Nelson has never suggested Escamilla creates a “loophole” around an

otherwise applicable statute, and the “loophole” framing is question-begging. Here,

the statute never applied in the first place because the IATC-Participation didn’t

“evolve” from a state-court claim; the allegations in the IATC-Participation claim

were not part of the IATC claim presented to the state court.

      Escamilla and Lewis, moreover, belong to a thread of Fifth Circuit precedent

about claim sameness that the Panel does not cite. These cases invariably find



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sameness where insufficiently material evidence is added to an existing set of

allegations. See, e.g., Ward, 777 F.3d at 258 (framing fundamental alteration standard

as test for additional evidence added to existing allegations); Anderson, 388 F.3d at

386-87 (same). They do not, however, permit a finding of sameness when the

federal-court claim is an entirely distinct set of allegations.

D.      The Panel Erroneously Characterized The Federal-Court Claim.

        The Panel concludes its opinion by switching gears and comparing the state-

court IATC claim to a different set of federal allegations. Some background helps to

understand what happened. Prejudice for IATC claims is to be accumulated across

all deficiencies.3 As a result, Nelson formally pleaded a federal-court IATC claim

encompassing all deficiencies, including the deficiencies that now make up the

IATC-participation claim. The district court held that the federal-court claim was the

same as the state-court claim based on the mistaken belief that both claims were

Wiggins claims. Unsure whether the Fifth Circuit was going to analyze prejudice




3
  The IATC prejudice inquiry mirrors Brady materiality. See Strickland v. Washington, 466 U.S.
668, 694 (1984) (“[T]he appropriate test for prejudice finds its roots in the test for materiality of
exculpatory information not disclosed to the defense by the prosecution[.]”) (citing leading Brady
precedent). In Kyles v. Whitley, 514 U.S. 419 (1995), the Supreme Court repeatedly emphasized
that both the IATC-prejudice and Brady-materiality analyses were cumulative. See id. at 436 (after
noting identity between IATC prejudice and Brady materiality, explaining that, “[for materiality
purposes], suppressed evidence [must be] be considered collectively, not item by item”); id. at 436
n.10 (“We evaluate [the] cumulative effect [of undisclosed evidence] for purposes of materiality
separately and at the end of the discussion . . . .”); id. at 441 (“The result . . . is incompatible with
a series of independent materiality evaluations, rather than the cumulative evaluation required by
[precedent].”).

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cumulatively, Mr. Nelson’s COA application presented the IATC-Participation

allegations as a discrete sub-heading within his IATC-Sentencing Arguments.

Petitioner-Appellant’s Application for COA at 16-18, Nelson v. Lumpkin, 72 F.4th

649 (No. 17-70012).

        In certifying the appeal, the Panel indeed treated the IATC-participation

allegations as forming its own IATC claim. See Nelson v. Davis, 952 F.3d 651, 670

(5th Cir. 2020) (“We refer to this [set of allegations] as Nelson’s ‘IATC-Participation’

claim.”). The Panel Opinion’s un-telegraphed decision to revert to a comparison

between the initially-pleaded IATC claim and the state-court IATC claim whipsawed

Nelson. More importantly, it deprived Nelson of any opportunity to argue that the

omnibus claim was not adjudicated on the merits in state court, and it resulted in

distinct holding about claim sameness that also contravenes the precedent recited

above.4




4
  Briefing on the issue would have helped the Panel. First, the Panel quoted to an instance in which
it believed Mr. Nelson “concedes … that both claims are ‘similar.’” Nelson, 72 F.4th at 659. There
is no citation to the quotation, but it appears the Panel is referring to this sentence from the
Appellant’s Brief: “The Court should leave its decision on this issue in place. Mr. Nelson’s IATC-
Participation Claim is superficially similar to the IATC claim only in the sense that both are Sixth
Amendment claims about sentencing, but the IATC-Participation Claim relies on materially
different allegations and evidence.” Brief for Petitioner-Appellant, at 34, Nelson v. Lumpkin, 72
F.4th 649 (No. 17-70012) (“Nelson Opening Brief”). Obviously, this language is not the
concession suggested in the Panel Opinion. Second, the Panel offers a puzzling (and wrong-
seeming) distinction between Brady materiality and IATC prejudice. Nelson, 72 F.4th at 660. Mr.
Nelson pointed out the black-letter rule that sentencing-phase IATC prejudice is cumulated the
same way Brady prejudice is. See note 3, supra.

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II.   THE UNDERLYING CLAIM HAS MERIT, JUSTIFYING § 3599(F)
      SERVICES AND A RHINES STAY.

      An IATC claimant must make two familiar showings: deficiency and

prejudice. Strickland v. Washington, 466 U.S. 668, 687-88, 694 (1984). The Panel

majority erred in finding against Nelson on the prejudice prong and on his requests

for ancillary relief, the latter of which were bound up with its assessment of the

merits.

      A.     Nelson’s Trial Counsel Were Deficient.

      The Panel did not reach deficiency, Nelson, 72 F.4th at 660, but trial counsel

were deficient. When “the known evidence would lead a reasonable attorney to

investigate further,” counsel is deficient if he neglects to do so. Wiggins v. Smith,

539 U.S. 510, 527 (2003); see also Rompilla v. Beard¸ 545 U.S. 374, 391 n.8 (2005)

(red flags pointing to a need to investigate further cannot reasonably be ignored);

Moore v. Johnson, 194 F.3d 586, 608 (5th Cir. 1999) (failure to interview key

witnesses was deficient representation).

      Nelson’s sentencing jury had to determine whether Nelson was the principal

assailant—primarily because it went to the “anti-parties” issue at sentencing, but

also because it went to mitigation. Despite possessing information indicating that

one or more co-assailants caused Dobson’s death, trial counsel failed to investigate

the roles played by Springs and Jefferson. But as the dissent noted in concluding that

trial counsel were deficient, Nelson identified “several” red flags which would have

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prompted a reasonable attorney to further investigate Springs’s and Jefferson’s

involvement. Nelson, 72 F.4th at 663-64. Those flags include, but are not limited to

bruising on Springs’s knuckles and forearms, Springs’s possession of Dobson’s

property, Springs’s false statements to the police, Springs’s biased alibi witness,

physical evidence that another male—apart from Nelson, Springs, and the victim—

was at the crime scene, and Jefferson’s lie about his alibi. Nelson Opening Brief at

17-18. But trial counsel never attempted to interview Springs or Jefferson, let alone

verify their unreliable alibis.

       B.     The Deficiency Was Prejudicial.

       Trial counsel’s failure to investigate alibis prejudiced the sentencing outcome.

Prejudice is a “reasonable probability that but for counsel’s unprofessional errors,

the result of the proceeding would have been different.” Strickland, 466 U.S. at 694.

As the dissent noted, further factual development will likely disclose that Nelson

was prejudiced by trial counsel’s failure to investigate. Nelson, 72 F.4th at 663-64.

At sentencing, before the jury could impose death, it had to answer three special

questions: (1) future dangerousness; (2) whether the defendant actually caused the

death of the deceased or anticipated death would occur (anti-parties issue); and (3)

whether there was sufficient mitigation. Tex. Code Crim. Proc. art. 37.071, § 2(b).

An absence of unanimity on any of those issues would have precluded a death

sentence.



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      The Panel majority did not dispute that evidence showing that Nelson wasn’t

the primary assailant is relevant to the special issues—especially the anti-parties

issue. Instead, the Panel observed that the State’s evidence strongly indicated that he

participated directly in the murder. Nelson, 72 F.4th at 661-62. But none of what the

Panel labeled as “uncontroverted evidence”—Nelson’s fingerprints at the crime

scene, pieces of his belt on the floor, and blood on his shoes—is inconsistent with

Nelson’s version of events, in which he neither committed nor anticipated the

murder. Nelson admitted that he entered the church office twice, picked up a laptop,

knelt on the floor, and reached under the desk to grab a bag. 36RR73-76. And while

Mr. Nelson testified that he found Dobson and Eliot injured when he entered the

church and took a computer, credit cards, and car keys, he also stated that they were

alive and that Dobson was speaking to Eliot. 36RR86. That Nelson robbed and failed

to help the victims does not mean that he killed Dobson or otherwise anticipated his

death, as the anti-parties issue requires.

      Instead of engaging with the effect of the omitted evidence, the Panel invoked

the brutality of the attack—and Nelson’s failure to assist the victims—as justification

for an adverse prejudice finding. However, prejudice can exist even when the state

“emphasized the brutality of [the] crime.” Buck v. Davis, 137 S. Ct. 759, 776 (2017).

Moreover, the Panel dismissed evidence suggesting that the role of Springs and/or

Jefferson in the murder was significant: Jefferson’s unreliable alibi, as well as



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Springs’s bruised knuckles, fabricated alibi, possession of Mr. Dobson’s property,

and second cell phone for which the State failed to obtain records. See Nelson Reply

at 19–20. Had jurors heard this evidence, there is a reasonable probability that at

least one of them would answered a special issue—especially the anti-parties issue—

differently.

                 CONCLUSION AND PRAYER FOR RELIEF

       Nelson prays that this Court grant relief in the form of either a revised Panel

opinion or en banc reconsideration.

July 28, 2023                                   Respectfully submitted,
                                                /s/ Lee Kovarsky


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                          CERTIFICATE OF SERVICE
      I hereby certify that, on July 28, 2023, a copy of the foregoing APPELLANT’S
PETITION FOR REHEARING EN BANC was served via CM/ECF on the following
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      This brief complies with the type-volume limitation of FED. R. APP. P.

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            United States Court of Appeals
                 for the Fifth Circuit                                 United States Court of Appeals
                                                                                Fifth Circuit

                                                                              FILED
                                                                            June 30, 2023
                                   No. 17-70012
                                                                            Lyle W. Cayce
                                                                                 Clerk

   Steven Lawayne Nelson,

                                                            Petitioner—Appellant,

                                       versus

   Bobby Lumpkin, Director, Texas Department of
   Criminal Justice, Correctional Institutions Division,

                                                            Respondent—Appellee.


                  Appeal from the United States District Court
                      for the Northern District of Texas
                            USDC No. 4:16-CV-904


   Before Jones, Smith, and Dennis, Circuit Judges.
   Edith H. Jones, Circuit Judge:
           Steven Lawayne Nelson was convicted of capital murder and
   sentenced to death for his involvement in the robbery and murder of a pastor.
   After exhausting his state remedies, Nelson filed a federal habeas petition
   under    28 U.S.C. § 2254    and   sought    investigative    services     under
   18 U.S.C. § 3599.    The district court rejected his petition for relief,
   concluded that investigative services were not reasonably necessary, and
   denied a certificate of appealability (COA). Nelson then petitioned this court
   for a COA. We granted that petition on a single issue: Whether Nelson’s
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   trial counsel were ineffective for failing to investigate and present at the
   penalty phase of trial two alleged accomplices’ participation in the robbery
   and murder.     We hold that Nelson’s attempt to reframe his Sixth
   Amendment counsel ineffectiveness claim in federal court does not save it
   from the strictures of AEDPA review, 28 U.S.C. § 2254(d). We now
   AFFIRM.
                                       I.
         On March 3, 2011, while tending to his ecclesiastical duties at
   Arlington’s NorthPointe Baptist Church, Reverend Clinton Dobson was
   bound, savagely beaten, and then suffocated with a plastic bag. Nelson v.
   State, No. AP-76,924, 2015 WL 1757144, at *1 (Tex. Crim. App. Apr. 15,
   2015). Dobson’s elderly secretary, Judy Elliott, was also beaten beyond
   recognition and within an inch of her life. Id. at *1–2. A car, laptop,
   cellphone, and several credit cards were stolen. Id. Two days later, police
   arrested Nelson and a grand jury indicted him for capital murder based on,
   inter alia, physical evidence recovered at the scene, surveillance video
   showing Nelson using the victims’ credit cards at a mall, and information
   provided by Nelson’s acquaintances. See id. at *2–3.
         At the guilt stage of Nelson’s trial, the State presented impressive
   physical and circumstantial evidence directly linking Nelson to the crime.
   Nelson’s fingerprints were at the murder scene, and droplets of the victims’
   blood were on top of Nelson’s sneakers. Id. at *3. Moreover, distinctive
   white metal studs from the belt Nelson was wearing when police arrested him
   were found on and around Dobson’s body. Id. at *2–3. Shortly after the
   murder, Nelson was seen driving Elliott’s car to a store, where he sold
   Dobson’s laptop to another customer. Id. at *2. Video surveillance at the
   local mall showed Nelson using Elliott’s stolen credit cards to make
   purchases. Id. Further, the day after the murder, Nelson sent a series of




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   incriminating text messages. “One asked to see the recipient because ‘[i]t
   might be the last time.’ Another said, ‘Say, I might need to come up there to
   stay. I did some [stuff] the other day, Cuz.’ A third said, ‘I [messed] up bad,
   Cuz, real bad.’” Id. Nelson even bragged about the murder to a friend.
          Against his lawyers’ advice, Nelson insisted on testifying. According
   to Nelson, he waited outside the church to serve as a lookout while two
   others, Anthony Springs and Claude Jefferson, went inside to rob Dobson
   and Elliott. 1 Id. at *3. After about twenty-five minutes, Nelson entered the
   church and saw the victims face down and bleeding out from their heads on
   the floor, but still alive. Id. Nelson did nothing to aid the victims; instead,
   he robbed them, taking Dobson’s laptop, Elliott’s keys, and Elliott’s credit
   cards, and then went back outside. Id. Later, he went back inside and saw
   that Dobson was dead, but quickly left because he could not stand the smell.
   Id. Nelson admitted that “he knew people were inside the church and that
   he agreed to rob them,” he just did not know that his accomplices would kill
   anyone. Id.
          Nelson’s story did not square with the State’s extensive evidence.
   For one, Nelson could not explain how droplets of the victims’ blood got on
   the top of his shoes or how pieces of his belt broke off at the murder scene.
   Moreover, Springs and Jefferson each had alibis. Two witnesses and phone
   records placed Springs over 30 miles away during the time of the murder. A
   class sign-in sheet and phone records placed Jefferson in his chemistry class.
          Rather than try to definitively prove Nelson’s story, Nelson’s trial
   counsel raised suspicion as to Springs’s and Jefferson’s involvement to
   undermine the State’s theory that Nelson alone committed the murder. For


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             When police initially confronted Nelson about the murder, he only named
   Springs, but not Jefferson, as his accomplice.




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   example, Nelson’s counsel challenged Springs’s and Jefferson’s alibis and
   established that police recovered DNA evidence from the crime scene that
   did not match the victims, Nelson, or Springs.
            The trial court gave the jury a law of the parties instruction, meaning
   that it could return a guilty verdict if it found either that Nelson was
   (1) directly responsible for Dobson’s murder or (2) a party to the robbery and
   should have anticipated that a death was likely to occur during the robbery.
   After deliberating, the jury found Nelson guilty of capital murder without
   specifying which theory it relied on. Then the court proceeded to the penalty
   stage.
            The penalty stage was held before the same jury that convicted
   Nelson. To sentence Nelson to death, the jury had to first find that Nelson
   (1) poses a “continuing threat to society” and (2) “actually caused the death
   of the deceased or did not actually cause the death of the deceased but
   intended to kill the deceased or another or anticipated that a human life
   would be taken.” Tex. Code Crim. Proc. art. 37.071, § 2(b)(1)–(2). If
   the jury answered those questions in the affirmative, then it had to consider
   whether mitigating circumstances warranted a “sentence of life
   imprisonment without parole rather than a death sentence.” Tex. Code
   Crim. Proc. art. 37.071, § 2(e)(1).
            At the penalty stage, the State continued to press the theme that
   Nelson alone murdered Dobson. Moreover, the State presented evidence
   that while awaiting trial Nelson murdered a fellow inmate, Johnathan
   Holden, vandalized jail property, smuggled weapons into the jail, and
   repeatedly assaulted jail personnel. See Nelson, 2015 WL 1757144 at *6–7.
   Nelson’s trial counsel challenged the evidence indicating that Nelson
   murdered Holden. They further argued that Nelson did not deserve the
   death penalty because others participated in the crime. To show that,




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   Nelson’s DNA expert testified that the items used to restrain both victims
   contained DNA from unknown contributors. And another expert testified
   that hair found at the scene did not match the victims, Nelson, or Springs.
   Finally, Nelson’s trial counsel presented a comprehensive mitigation case by
   calling numerous witnesses to show that Nelson’s violent tendencies
   stemmed from mental illness and a difficult upbringing. Notwithstanding
   these efforts, the jury answered all three questions consistent with the death
   penalty and the district court sentenced Nelson to death.
          Nelson next sought state habeas relief. The State appointed John
   Stickels, an experienced and well-credentialed criminal attorney, to
   represent Nelson in his state habeas petition. Among other grounds for relief,
   Nelson alleged that his trial counsel rendered ineffective assistance under the
   Sixth Amendment at the penalty phase by failing “to adequately investigate
   and present mitigation evidence.”          In particular, he asserted that his
   “defense team failed to investigate [his] background, history, family, and
   friends and, as a result, failed to discover relevant and important mitigation
   evidence.”
          On the basis of the record, the state habeas trial court recommended
   denying relief. It noted that Nelson’s trial counsel were “both highly
   experienced attorneys who were well-qualified to represent [him] at his
   capital-murder trial,” and that they “became fully versed in and
   knowledgeable of the information against [him] contained in the State’s file.”
   Furthermore, “[d]ue to the allegations of the indicted capital-murder case
   and the subsequent allegations of [Nelson’s] severe misconduct while
   awaiting trial, [they] knew that most of their time would be spent trying to
   build a strong mitigation case.” Ultimately, the court concluded, Nelson’s
   trial counsel “made a well-reasoned strategic decision based on a thorough
   investigation, their professional judgment, the available witness testimony,
   and their reliance on well-qualified experts about how to best present



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   [Nelson’s sentencing] case to the jury.” The Texas Court of Criminal
   Appeals adopted the state habeas court’s findings and conclusions and also
   denied relief. See Ex parte Nelson, No. WR-82,814-01, 2015 WL 6689512,
   at *1 (Tex. Crim. App. Oct. 14, 2015).
          With new counsel, Nelson then filed the instant § 2254 application.
   Nelson again raised a single ineffective assistance of counsel claim related to
   his trial counsel’s alleged deficient performance at sentencing. In addition to
   the mitigation-related deficiencies identified in his state habeas application,
   Nelson asserted that his trial counsel deficiently failed to investigate,
   prepare, and litigate how Nelson’s culpability may be diminished by
   Springs’s and Jefferson’s participation. Nelson labels this his “participation
   claim.” Nelson maintained that his trial counsel’s aggregate failure to
   investigate mitigation, participation, and other sentencing related issues
   “deprived the jury of powerful information showing that [his] life should be
   spared.” He likewise argued prejudice—that, but for his trial counsel’s
   cumulative deficiency in failing to investigate the various sentencing-related
   issues, there is a reasonable probability that Nelson’s sentence would have
   been different. Finally, Nelson sought funding to further investigate his
   ineffective assistance claim.
          In a thorough and painstaking opinion, the district court rejected
   Nelson’s ineffective assistance claim. As a threshold matter, the district
   court held that Nelson did not procedurally default the ineffective assistance
   claim because he presented the same claim, albeit with fewer alleged
   instances of trial counsel’s deficient performance, in state court. Even if the
   mitigation and participation based claims were distinct and the participation
   based claim was therefore procedurally defaulted, the district court reasoned,
   Nelson did not overcome that procedural default under Martinez v. Ryan,
   566 U.S. 1, 132 S. Ct. 1309 (2012), and Trevino v. Thaler, 569 U.S. 413,
   133 S. Ct. 1911 (2013), by showing that his state habeas counsel provided



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   ineffective assistance. In the alternative, the district court rejected Nelson’s
   participation claim on the merits. The district court also denied Nelson’s
   request for investigative services under 18 U.S.C. § 3599(f). Finally, the
   district court refused a COA.
          Nelson then petitioned this court for a COA. This court granted
   Nelson’s request in part. Nelson v. Davis, 952 F.3d 651, 670–76 (5th Cir.
   2020). Noting that “reasonable jurists could debate whether Nelson’s
   [participation] allegations ‘fundamentally alter’ his [ineffective assistance]
   claim,” this court hypothesized that Nelson’s participation based ineffective
   assistance claim may be distinct from the ineffective assistance claim raised
   in state court and therefore procedurally defaulted. Id. at 671–72. Next, this
   court concluded that reasonable jurists could debate whether Nelson’s state
   habeas counsel was ineffective in failing to raise the participation claim and
   that, as a result, reasonable jurists could debate whether Nelson could
   overcome procedural default under Martinez/Trevino. As to the merits of
   Nelson’s participation claim, this court reasoned that “[b]ecause Nelson’s
   counsel sought to convince the jury that Springs and Jefferson were involved
   but arguably failed to take reasonable investigative steps in developing
   evidence in support of this argument, . . . reasonable jurists could debate that
   his trial counsel’s performance” was deficient. Id. at 675. This court carried
   with the development of the participation claim the questions of Strickland
   prejudice and denial of funding. Id. at 675–76.
                                         II.
          In an appeal from a district court order denying habeas relief, “this
   court reviews the district court’s findings of fact for clear error and its
   conclusions of law de novo, applying the same standards to the state court’s
   decision as did the district court.” Harrison v. Quarterman, 496 F.3d 419,
   423 (5th Cir. 2007) (citing Coble v. Dretke, 444 F.3d 345, 349 (5th Cir. 2006)).




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   The court “may affirm on any ground supported by the record,” Dorsey v.
   Stephens, 720 F.3d 309, 314 (5th Cir. 2013) (citing Fisher v. Texas, 169 F.3d
   295, 299 (5th Cir. 1999)), and is not bound “by the COA opinion’s
   observations on the merits,” Trevino v. Davis, 861 F.3d 545, 548 n.1 (5th Cir.
   2017). We review the denial of funding under 18 U.S.C. § 3599 for an abuse
   of discretion. Ayestas v. Davis, 138 S. Ct. 1080, 1094 (2018).
                                        III.
          The Antiterrorism and Effective Death Penalty Act of 1996
   (“AEDPA”) governs federal habeas proceedings. Out of respect to “our
   system of dual sovereignty,” AEDPA greatly restricts the availability of
   federal habeas relief to those convicted of crimes in state court. Shinn v.
   Ramirez, 142 S. Ct. 1718, 1730 (2022) (citing Printz v. United States, 521 U.S.
   898, 918, 117 S. Ct. 2365, 2376 (1997) and Brown v. Davenport, 142 S. Ct.
   1510, 1523–24 (2022)).      Chief among AEDPA’s federalism preserving
   features is the requirement that state prisoners “exhaus[t] the remedies
   available in the courts of the State” before seeking federal habeas relief.
   28 U.S.C. § 2254(b)(1). Generally, state prisoners satisfy “this exhaustion
   requirement by raising [their] federal claim before the state courts in
   accordance with state procedures.”          Shinn, 142 S. Ct. at 1732 (citing
   O’Sullivan v. Boerckel, 526 U.S. 838, 848, 119 S. Ct. 1728, 1734 (1999)).
          A federal court’s review of a claim adjudicated in state court is
   circumscribed in two ways. First, the federal court may not consider any
   evidence beyond the state court record. See Cullen v. Pinholster, 563 U.S. 170,
   180–81, 131 S. Ct. 1388, 1398 (2011). Second, the state prisoner must show
   that the state court’s decision “was contrary to, or involved an unreasonable
   application of,” law clearly established by the Supreme Court,
   28 U.S.C. § 2254(d)(1), or that the decision “was based on an unreasonable




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   determination of the facts” in light of the state court record,
   28 U.S.C. § 2254(d)(2).
          In contrast, if a state prisoner fails to present his federal claim in state
   court for adjudication or comply with state procedures, and thereby
   procedurally defaults the claim, then a federal court will, in all but the most
   extraordinary cases, decline to review it. Shinn, 142 S. Ct. at 1732. A
   prisoner may overcome such procedural default only “if he can show ‘cause’
   to excuse his failure to comply with the state procedural rule and ‘actual
   prejudice resulting from the alleged constitutional violation.’” Davila v.
   Davis, 137 S. Ct. 2058, 2064–65 (2017) (quoting Wainwright v. Sykes,
   433 U.S. 72, 84, 97 S. Ct. 2497, 2505 (1977) and Coleman v. Thompson,
   501 U.S. 722, 750, 111 S. Ct. 2546, 2565 (1991)). Ordinarily, “[a]ttorney
   ignorance or inadvertence” does not excuse procedural default “because the
   attorney is the [prisoner’s] agent when acting, or failing to act, in furtherance
   of the litigation, and the [prisoner] must ‘bear the risk of attorney error.’”
   Coleman, 501 U.S. at 753, 111 S. Ct. at 2566–67 (quoting Murray v. Carrier,
   477 U.S. 478, 488, 106 S. Ct. 2639, 2645 (1986)).
          A narrow exception to the general rules stated in Shinn exists under
   Martinez and Trevino. That exception allows—but does not require—a
   federal habeas court to excuse a state prisoner’s procedural default of a
   “substantial” ineffective assistance of trial counsel claim where (1) state law
   forbids raising that claim on direct review or makes it virtually impossible to
   do so and (2) the prisoner can show his state habeas counsel rendered
   constitutionally deficient assistance by failing to raise the claim. Trevino,
   569 U.S. at 423–24, 133 S. Ct. at 1918. In the rare case where a state prisoner
   successfully overcomes procedural default, the federal habeas court then
   considers the claimed ineffectiveness of trial counsel de novo. Hoffman v.
   Cain, 752 F.3d 430, 437 (5th Cir. 2014) (citing Wright v. Quarterman,
   470 F.3d 581, 591 (5th Cir. 2006)). Critically, however, the federal habeas



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   court’s review is limited to the state court record. Shinn, 142 S. Ct. at 1734
   (holding that “under § 2254(e)(2), a federal habeas court [reviewing a
   procedurally defaulted claim] may not conduct an evidentiary hearing or
   otherwise consider evidence beyond the state-court record based on
   ineffective assistance of state postconviction counsel”).
           Under AEDPA’s framework, then, two procedural issues logically
   precede the merits of Nelson’s participation claim. First, whether that claim
   was “adjudicated on the merits in State court proceedings” and therefore
   subject to the strictures of 28 U.S.C. § 2254(d). Second, if not, whether
   Nelson can overcome the consequent procedural default. We address the
   first question and hold that Nelson’s participation claim was adjudicated on
   the merits in state court proceedings. We pretermit the second question and
   “cut straight to the merits to deny his claim” in the alternative. Murphy v.
   Davis, 901 F.3d 578, 589 n.4 (5th Cir. 2018). 2
                                                A.
           The limitations on federal habeas review contained in § 2254(d) apply
   to any claim “adjudicated on the merits in State court proceedings.” A
   “claim” for AEDPA purposes is “an asserted federal basis for relief from a
   state court’s judgment of conviction.” Gonzales v. Crosby, 545 U.S. 524, 530,
   125 S. Ct. 2641, 2647 (2005) (defining “claim” as used in § 2244(b)); see also



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            Nelson also requested investigative services under 18 U.S.C. § 3599(f). Shinn v.
   Ramirez, 142 S. Ct. 1718 (2022), however, makes clear that any evidence developed using
   those services and raised for the first time in federal court would have to comply with
   § 2254(e)(2)’s “stringent” requirements. Id. at 1735. Nelson has never argued that he
   could meet those requirements. Thus, we cannot conclude that the investigative services
   are “reasonably necessary” because Nelson will not “be able to clear [the] procedural
   hurdle[]” posed by § 2254(e)(2), and “the contemplated services” therefore “stand little
   hope of helping [Nelson] win relief.” Ayestas v. Davis, 138 S. Ct. 1080, 1094 (2018).
   Accordingly, the district court did not err, much less abuse its discretion in denying relief.




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   Powerex Corp. v. Reliant Energy Servs., Inc., 551 U.S. 224, 232, 127 S. Ct. 2411,
   2417 (2007) (“[I]dentical words and phrases within the same statute should
   normally be given the same meaning.”). Generally, determining whether the
   § 2254(d) relitigation bar applies is straightforward. On the one hand, the
   relitigation bar does not apply where the prisoner fails altogether to present a
   certain claim in state court. See Trevino, 569 U.S. at 416–17, 133 S. Ct. at
   1914–15 (applying procedural default regime rather than § 2254(d)
   limitations in case where state habeas counsel failed to raise ineffective
   assistance claim that federal habeas counsel later raised). On the other hand,
   the § 2254(d) limitations do apply in cases where a prisoner “fairly presented
   the substance of his [federal] claim to the state courts.” Nobles v. Johnson,
   127 F.3d 409, 420 (5th Cir. 1997) (citing Picard v. Connor, 404 U.S. 270, 275–
   76, 92 S. Ct. 509, 512–13 (1971)).
          In cases where the support for the prisoner’s federal claim evolves
   across the state and federal proceedings, determining whether § 2254(d)’s
   relitigation bar applies is more difficult. A court must then consider whether
   the evolved claim presented in federal court is in fact a new claim altogether,
   and thus excluded from § 2254(d)’s relitigation bar, or simply the old one
   already adjudicated in state court, in which case § 2254(d)’s relitigation bar
   does apply. See Pinholster, 563 U.S. at 186 n.10, 131 S. Ct. at 1401 n.10. To
   date, the Supreme Court has not identified “where to draw the line between
   new claims and claims adjudicated on the merits.” Id.
          Relying on this court’s COA opinion, Nelson posits that when a claim
   raised in a federal habeas petition fundamentally alters a claim raised in the
   state habeas petition, it is not “adjudicated on the merits in State court
   proceedings” and is therefore not subject to § 2254(d)’s restrictions. Nelson,
   952 F.3d at 671–72. A claim raised in a federal habeas petition fundamentally
   alters the related claim raised in a state habeas petition, Nelson opines, where
   the claim presented to the federal court includes new, material factual



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   allegations that place “the claim in a ‘significantly different legal posture.’”
   Nelson principally relies on Lewis v. Thaler, 701 F.3d 783 (5th Cir. 2012), and
   Escamilla v. Stephens, 749 F.3d 380 (5th Cir. 2014), for support. Carefully
   read, however, neither of those cases supports Nelson’s proposed standard
   for separating new ineffectiveness claims from those adjudicated on the
   merits.
          Lewis addressed whether a federal habeas court could consider expert
   mitigation evidence offered for the first time in the federal proceedings.
   701 F.3d at 789. Reasoning in light of Pinholster, this court eschewed a prior
   line of cases holding that facts and evidence raised “for the first time on
   federal habeas review” should be “‘analyzed under the exhaustion rubric of
   § 2254(b),’ rather than as an issue of ‘factual development’ under § 2254(d)
   and (e).” Id. at 789 (quoting Dowthitt v. Johnson, 230 F.3d 733, 745 (5th Cir.
   2000)); see also Clark v. Thaler, 673 F.3d 410, 416–17 (5th Cir. 2012).
   Accordingly, the court held that it could not consider the new mitigation
   evidence. Lewis, 701 F3d. at 791. But the court did not hold that a state
   prisoner could avoid § 2254(d)’s limitations by presenting new evidence that
   fundamentally altered a claim already adjudicated in state court proceedings.
          Escamilla is similarly unhelpful.         That case held that where a
   prisoner’s state habeas counsel raised a particular federal claim in state
   habeas proceedings, albeit ineffectively under the Sixth Amendment,
   Pinholster barred the prisoner from presenting new evidence in federal
   proceedings because the original claim was adjudicated on the merits in state
   court proceedings. Escamilla, 749 F.3d at 394–95. This court did not outline
   a loophole around § 2254(d)’s limitations whenever newly offered evidence
   and legal theories “fundamentally alter” a claim previously presented to the
   state courts. Indeed, Escamilla cautioned that “once a claim is considered
   and denied on the merits by the state habeas court, Martinez [v. Ryan] is
   inapplicable, and may not function as an exception to Pinholster’s rule that



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   bars a federal habeas court from considering evidence not presented to the
   state habeas court.” Escamilla, 749 F.3d at 395 (internal citation omitted); see
   also Broadnax v. Lumpkin, 987 F.3d 400, 408–09 (5th Cir. 2021).
             Even so, Nelson’s argument, that the new participation aspect of the
   ineffective assistance claim fundamentally alters the ineffective assistance
   claim he litigated in the state proceedings, would fail. On this point, a careful
   comparison of his state and federal habeas applications is useful. In his state
   habeas petition, Nelson raised a single ineffective assistance of counsel claim,
   as he contended that his trial counsel “fail[ed] to adequately investigate and
   present mitigation evidence.” More specifically, Nelson asserted that trial
   counsel “failed to investigate [his] background, history, family, and friends
   and, as a result, failed to discover relevant and important mitigation evidence
   that would have made a difference” at the penalty stage. After reviewing
   Nelson’s habeas application, the State’s reply, “all of the exhibits and
   materials filed by each party, and the entire record of the trial and habeas
   proceedings,” the state habeas court concluded that Nelson’s trial counsel
   made a “well-reasoned” and informed strategic decision to focus on building
   a strong mitigation case.
             Nelson’s federal habeas application likewise raised a single ineffective
   assistance of counsel claim. He argued that his trial counsel “failed to
   adequately investigate, prepare, and litigate sentencing.” Trial counsel’s
   performance was constitutionally deficient, Nelson asserted, because they
   failed to: (1) investigate, prepare, and litigate how Nelson’s culpability may
   be diminished by Springs’s and Jefferson’s participation; (2) develop
   evidence that Holden died of suicide rather than at the hands of Nelson; and
   (3) investigate and present evidence about Nelson’s background and mental
   health.      As to Strickland’s prejudice prong, Nelson argued that the
   cumulative effect of trial counsel’s deficient performance prejudiced him on
   all three special issues at sentencing.



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          In both the state and federal habeas proceedings, Nelson raised a
   single ineffective assistance of counsel claim related to trial counsel’s
   performance at sentencing. Nelson concedes, as he must, that both claims
   are “similar.” There is no dispute that the “asserted federal basis for relief
   from [the] state court’s judgment of conviction” is the same. Crosby,
   545 U.S. at 530, 125 S. Ct. at 2647. The only difference between the claim
   adjudicated in the state court and the claim presented in federal court is that
   Nelson pointed out more instances of trial counsel’s alleged deficient
   performance at sentencing in the federal court claim. That is not enough to
   fundamentally alter the ineffective assistance claim adjudicated in the state
   court to place the claim in a significantly different legal posture. A state
   prisoner cannot aggregate alleged instances of ineffective assistance of
   counsel to satisfy the Strickland deficient performance and prejudice
   requirements and then disaggregate those theories to create new,
   unadjudicated claims and thereby circumvent § 2254(d)’s limitations.
          Nelson resists this conclusion by arguing that it will produce absurd
   results. He hypothesizes that, by the same logic, a Brady claim alleging that
   the prosecution suppressed exculpatory forensic evidence would be
   “adjudicated on the merits” if in state court the prisoner raised a Brady claim
   alleging that the prosecution suppressed favorable eyewitness testimony. But
   Nelson confounds the distinct natures of Strickland and Brady claims.
   Conceptually, a Brady claim is specific to particular pieces of material
   evidence allegedly suppressed by the prosecution whereas a Strickland claim
   is specific to a particular stage of a proceeding. Compare United States v.
   Brown, 650 F.3d 581, 588–93 (5th Cir. 2011) (evaluating Brady claims on an
   item-by-item basis), with Blanton v. Quarterman, 543 F.3d 230, 236–48
   (5th Cir. 2008) (evaluating separately state prisoner’s trial counsel and
   appellate counsel ineffective assistance claims). Thus, this court’s analysis
   does not produce absurd results, just the results required by § 2254(d).




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           Because we conclude that Nelson’s ineffective assistance claim was
   “adjudicated on the merits in State court proceedings,” this court’s review
   is constrained by the limitations articulated in Pinholster and § 2254(d).
   Nelson does not argue that he can overcome those limitations. On this basis,
   the state courts’ rejection of Nelson’s ineffectiveness claim did not
   unreasonably apply Strickland, nor was it an unreasonable application of the
   law to the facts. Nelson is not entitled to relief.
                                                B.
           Even if Nelson’s participation claim were not subject to § 2254(d)’s
   relitigation bar and assuming, arguendo, he could overcome procedural
   default by showing ineffective assistance of state habeas counsel, he would
   not succeed on the merits of his ineffective assistance claim. 3 In evaluating
   Nelson’s ineffective assistance claim, this court’s review is limited to the
   record before the state court. Shinn, 142 S. Ct. at 1734. To prevail on his trial
   counsel ineffective assistance claim, Nelson must show (1) deficient
   performance that (2) resulted in prejudice at sentencing.                     Strickland v.
   Washington, 466 U.S. 668, 687, 104 S Ct. 2052, 2064 (1984). We address
   only the prejudice component and conclude that Nelson has not met his
   burden. 4
           To establish prejudice, the “defendant must show that there is a
   reasonable probability that, but for counsel’s unprofessional errors, the result
   of the proceeding would have been different.” Id. at 694. Critically, the


           3
            See Murphy v. Davis, 901 F.3d 578, 589 n.4 (5th Cir. 2018) (denying habeas relief
   on merits of ineffectiveness claim rather than first considering whether prisoner could
   overcome procedural default).
           4
            This court need not address the performance component first. See Strickland,
   466 U.S. at 697, 104 S. Ct. at 2056 (“If it is easier to dispose of an ineffectiveness claim on
   the ground of lack of sufficient prejudice, that course should be followed.”).




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   “likelihood of a different result must be substantial, not just conceivable.”
   Harrington v. Richter, 562 U.S. 86, 112, 131 S. Ct. 770, 792 (2011) (citing
   Strickland, 466 U.S. at 693, 104 S. Ct. at 2067–68). Where, as here, the
   “Strickland claim is based on an allegedly deficient sentencing investigation,
   the petitioner may establish prejudice by showing that ‘the totality of the
   available mitigation evidence . . . reweigh[ed] . . . against the evidence in
   aggravation’ creates ‘a reasonable probability that at least one juror would
   have struck a different balance’ and recommended a life sentence instead of
   death.” Busby v. Davis, 925 F.3d 699, 723–24 (5th Cir. 2019) (first quoting
   Sears v. Upton, 561 U.S. 945, 955–56, 130 S. Ct. 3259, 3266 (2010) (per
   curiam), and then Wiggins v. Smith, 539 U.S. 510, 537, 123 S. Ct. 2527, 2543
   (2003)).
          Nelson argues that his trial counsel’s failure to investigate and
   introduce evidence about Springs’s and Jefferson’s potential involvement in
   Dobson’s murder prejudiced him at sentencing. Specifically, had trial
   counsel investigated and presented evidence about their involvement, “at
   least one juror likely would have found that either man (or both) participated
   in” Dobson’s murder. And the state court record, he contends, is replete
   with evidence that supports that conclusion. For example, Nelson points to
   (1) grand jury and trial testimony from one witness that contradicts the
   timelines that Springs and Jefferson offered as alibis, and (2) testimony from
   another witness that Springs’s SIM card was in that witness’s phone on the
   day of the murder. Moreover, the state court record contains extensive
   evidence showing that Springs and Jefferson retained proceeds of the
   robbery.   With a more fulsome picture of Springs’s and Jefferson’s
   involvement and his own correspondingly minimal role, Nelson concludes, a
   juror could have concluded that his “participation or intent fell short of the
   standards set by the anti-parties issue, that his culpability warranted a




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   favorable answer to the mitigation instruction, or that he would not represent
   a continuing threat to society.”
          No doubt proving that Springs or Jefferson also participated in
   Dobson’s ghastly murder is relevant to the three special questions posed to
   the jury at sentencing. But that is not enough to show Strickland prejudice.
   Even if Nelson’s trial counsel had further investigated Springs’s and
   Jefferson’s alibis and presented evidence about their involvement, the
   State’s case for death on each special question would have remained
   unassailable. We consider each special question in turn.
          First, the anti-parties question. In answering this question, the jury
   had to consider whether Nelson “actually caused” Dobson’s death or
   “anticipated that a human life would be taken.” Tex. Code Crim.
   Proc. art. 37.071, § 2(b)(2). At trial, the State adduced a mountain of
   uncontroverted evidence that strongly suggested Nelson’s direct
   participation in Dobson’s murder. Nelson’s fingerprints were found on the
   wrist rest of Dobson’s desk. Distinctive studs broke off Nelson’s belt at the
   crime scene, indicating a struggle. Drops of the victims’ blood were found
   on top of Nelson’s shoes, and those shoes matched a bloody print left at the
   scene. Nelson alone used Elliott’s credit card in the ensuing days to make
   purchases, and he alone sold Dobson’s laptop. By contrast, no physical
   evidence linked Springs or Jefferson with Dobson’s murder. In light of this
   evidence, it is unlikely that evidence of Springs’s and Jefferson’s
   involvement would have made any difference in how the jury answered the
   anti-parties question.
          More fundamentally, Nelson’s own testimony severely compromised
   any chance for trial counsel to persuade the jury to spare Nelson’s life on the
   anti-parties front. Nelson claimed that he acted as a lookout for Springs and
   Jefferson. When he entered the church, he saw Elliott and Dobson bleeding




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   out on the floor—but still alive—and did nothing to assist them. Instead, he
   stole Dobson’s computer, Elliott’s credit cards, and her car keys and went
   back outside, leaving the victims defenseless with his alleged accomplices.
   Proving that Nelson was an accomplice, and not the primary perpetrator, of
   the capital murder would do nothing to falsify that he “anticipated that a
   human life would be taken.” Tex. Code Crim. Proc. art. 37.071,
   § 2(b)(2). That the same jury had just convicted Nelson of capital murder
   means that the jury either concluded that Nelson was directly responsible for
   Dobson’s murder or else that he was an accomplice to the robbery and that
   he should have anticipated that a death was likely to occur during the course
   of the robbery. Thus, even if the jury accepted Nelson’s testimony at face
   value, there is little reason to think any juror would have answered the anti-
   parties question differently, much less a substantial likelihood that any juror
   would have done so.
          Next, the future dangerousness and mitigation questions required the
   jury to assess whether Nelson poses a “continuing threat to society” and
   whether other mitigating circumstances warrant a “sentence of life
   imprisonment without parole rather than a death sentence.” Tex. Code
   Crim. Proc. art. 37.071, §§ 2(b)(1), (e)(1). According to Nelson’s own
   recounting of the events, he participated in the aggravated robbery of a
   church during which that church’s ecclesiastical leader was brutally and
   senselessly murdered. While in custody and awaiting trial for Dobson’s
   murder, Nelson murdered a fellow inmate, engaged in several altercations
   with jail officers, repeatedly vandalized jail property, and smuggled weapons
   into jail. Nelson, 2015 WL 1757144, at *6–7. And after murdering his fellow
   inmate, who suffered from intellectual disabilities, Nelson “did a
   ‘celebration dance’ in the style of Chuck Berry, ‘where he hops on one foot
   and plays the guitar.’”      Id. at *6.     Further, Nelson’s own forensic
   psychologist “agreed that characteristics of antisocial personality disorder




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   describe him” and that he “has many characteristics of a psychopath.” Id.
   at *8. Even if Nelson’s trial counsel could definitively establish Springs’s or
   Jefferson’s involvement, they had little hope of showing that Nelson did not
   pose a continuing threat to society or that other mitigating evidence
   warranted life imprisonment rather than a death sentence. Accordingly,
   Nelson cannot show a substantial likelihood that a juror would have answered
   the future-dangerousness or mitigation questions differently had his trial
   counsel investigated and presented evidence of Nelson’s lessened
   participation.
          For all these reasons, Nelson cannot demonstrate a reasonable
   probability that at least one juror would have recommended a life sentence
   had his trial counsel investigated Springs’s and Jefferson’s involvement and
   presented evidence about the same at sentencing. He was not prejudiced,
   and his ineffective assistance of counsel claim would fail even if it were not
   assessed under the rigorous standards of AEDPA § 2254(d).
                                                                  AFFIRMED.




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   James L. Dennis, Circuit Judge, dissenting:
          I respectfully dissent from the majority’s opinion affirming the district
   court’s denial of Nelson’s federal habeas petition. We previously granted
   Nelson a COA on his unexhausted claim that his trial counsel was ineffective
   for failing to investigate whether two of Nelson’s friends, Anthony Springs
   and Claude Jefferson, committed the murder for which Nelson was convicted
   (the “IATC-Participation claim”). Instead of resolving the merits of
   Nelson’s petition, we should reverse the district court’s order and remand
   with instructions to grant Nelson’s request for investigative funding to
   further develop his IATC-Participation claim and for a stay so that Nelson
   may exhaust this claim in state court.
                             I. Investigative Funding
          Section 3599 “authorizes federal courts to provide funding to a party
   who is facing the prospect of a death sentence and is ‘financially unable to
   obtain adequate representation or investigative, expert, or other reasonably
   necessary services.’” Ayestas v. Davis, 138 S. Ct. 1080, 1092 (2018) (citing 18
   U.S.C. § 3599). In evaluating funding requests, courts consider whether
   funding is “reasonably necessary” in light of the potential merit of the
   applicant’s claims, the likelihood that the services would render useful
   evidence, and the prospect that the applicant could overcome any procedural
   hurdles. Id. at 1093–94 (proposed services must be “reasonably necessary”
   for the applicant’s representation.”). Courts of appeals review district court
   funding decisions for abuse of discretion. Ayestas v. Davis (Ayestas II), 933
   F.3d 384, 388 (5th Cir. 2019).
          Nelson sought funding under Section 3599(f) to pursue evidence
   supporting his theory that Springs and Jefferson were primarily responsible
   for the murder. The district court denied Nelson’s request, concluding—
   under the “substantial need” standard later rejected by the Supreme Court




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   in Ayestas—that based on the evidence presented to the jury, Nelson
   committed the crime alone so no evidence of another’s participation exists.
   138 S. Ct. at 1092 (adopting “reasonably necessary” standard for funding
   requests brought under § 3599). But in relying on the existing evidence on
   the record, the district court failed to consider “the potential merit of the
   claims” and “the likelihood that the services will generate useful and
   admissible evidence.” Id. at 1094. Nelson sought to conduct the requested
   investigation precisely to locate evidence that he alleges exists and could have
   been uncovered to support Nelson’s principal theory of defense and convince
   the jury to spare Nelson’s life at the sentencing phase. The district court thus
   abused its discretion in denying Nelson’s request for funding because Nelson
   has demonstrated that further investigation is likely to reveal evidence that
   supports his substantial IATC-Participation claim.
          Nelson’s IATC-Participation claim is likely meritorious. To prevail
   on this claim, Nelson must demonstrate both deficient performance by his
   trial counsel and prejudice to the outcome of his case. Strickland v.
   Washington, 466 U.S. 668, 687 (1984). Nelson can probably show that his trial
   counsel was deficient in failing to reasonably develop the principal defense
   theory in Nelson’s case—that Springs and Jefferson carried out the murder
   while Nelson served as a lookout for what he believed to be a robbery. Despite
   the importance of evidence suggesting Springs’ and Jefferson’s involvement
   in the murder, trial counsel did not even attempt to contact either Springs or
   Jefferson, let alone otherwise independently verify their alibis. At sentencing,
   trial counsel only used the fact that DNA from an unknown person was at the
   scene of the crime to support this defense theory.
          Moreover, on appeal Nelson identified several “red flags” that would
   have prompted a reasonable attorney to conduct further investigation to
   gather evidence of Springs’ and Jefferson’s involvement in the murder.
   Rompilla v. Beard, 545 U.S. 374, 391 (2005) (Counsel “could not reasonably



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   have ignored mitigation evidence or red flags simply because they were
   unexpected.”). As to Springs, for example, Nelson points out that trial
   counsel should have investigated leads suggesting that Springs obtained
   Dobson’s property directly from the scene of the crime, Springs’ alibi
   witnesses had motive to protect him from jail, someone else had Springs’
   SIM card in their phone on the day of the murder and bruising on Springs’
   knuckles at the time Springs was arrested was consistent with the struggle
   with the victims. Nelson also highlighted the weaknesses in Jefferson’s alibi
   given that while Jefferson testified that he was taking a quiz in class at the
   time of the murder, the teacher of that class stated that there was no quiz that
   day, Jefferson often skipped class, and a classmate could have signed in for
   Jefferson that day. These “red flags” indicate that trial counsel’s
   investigation was likely deficient, and that further investigation will generate
   useful and admissible 1 evidence in support of Nelson’s IATC-Participation
   claim.
            Nelson can also likely show, with the aid of further factual
   development, that he was prejudiced by trial counsel’s failure to investigate
   because there is a reasonable probability that the jury would not have
   sentenced Nelson to death if trial counsel had gathered and presented the
   jury with more evidence of Springs’ and Jefferson’s participation in the
   murder. In sentencing Nelson to death, the jury necessarily concluded that
   he “actually caused death or anticipated that death would occur,” see TEX.


            1
             The government argues that additional funding could not yield admissible
   evidence because any evidence uncovered would be inadmissible under Cullen v. Pinholster,
   563 U.S. 170 (2011) and 28 U.S.C. § 2254(e)(2). But Pinholster is irrelevant where, as
   explained below, Nelson’s federal IATC-Participation claim is different from the IATC
   claim presented in his state habeas proceeding. See Section II; see also Nelson v. Davis, 952
   F.3d 651, 671–72 (5th Cir. 2020) (“[N]ew evidence that ‘fundamentally alters the legal
   claim’ or places the claim in a ‘significantly different legal posture’ can render it a new
   claim that was not adjudicated on the merits by the state court.”).




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   CODE CRIM PROC. ART. 37.071 § 2(b)(2), and further evidence that Springs
   and/or Jefferson committed the murder would have cast doubt on whether
   Nelson’s culpability for the murder warranted the death penalty. Yet, as we
   noted in granting Nelson’s COA, in the absence of the undiscovered
   evidence, the court finds itself in “something of a Catch-22” because “[w]e
   cannot determine whether Nelson was prejudiced without knowing what
   evidence could have been uncovered” in the absence of further investigation
   and therefore “should not make this [prejudice] determination based solely
   on the record before us when he may be entitled to investigative funding to
   support this claim.” Nelson, 952 F.3d at 675. Based on the deficiencies in trial
   counsel’s performance, and the various avenues for investigation identified
   by Nelson, “[t]here is[] good reason to believe that, were [Nelson’s] §
   3599(f) motion granted, he could establish prejudice under Strickland.”
   Ayestas, 138 S. Ct. at 1100 (Sotomayor, J., concurring).
          Further factual development is likely to lead to useful and admissible
   evidence to support Nelson’s substantial IATC-Participation, and as such, is
   reasonably necessary for Nelson to be adequately represented by his present
   counsel. We should reverse the district court’s denial of Nelson’s petition
   and remand with instructions to grant Nelson’s request for investigative
   funding under Section 3599(f).
                                   II. Rhines Stay
          An order staying a federal habeas proceeding and holding it in
   abeyance pending a return to state court is appropriate when a petitioner
   brings an unexhausted claim in federal court and: “(1) the district court
   determines there was good cause for the petitioner’s failure to exhaust his
   claims in state court; (2) the claim is not plainly meritless; and (3) there is no
   indication that the petitioner is engaging in abusive litigation tactics or
   intentional delay.” Young v. Stephens, 795 F.3d 484, 495 (5th Cir. 2015)




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   (citing Rhines v. Weber, 544 U.S. 269, 277–78 (2005)). The district court did
   not address that standard and instead summarily denied Nelson’s motion in
   light of its denial of Nelson’s habeas petition on the merits. However, Nelson
   meets the standard for a stay under Rhines, and the district court abused its
   discretion in failing to issue a stay to allow Nelson to exhaust his IATC-
   Participation claim in state court. Rhines, 544 U.S. at 270 (“[I]t likely would
   be an abuse of discretion for a district court to deny a stay . . . if the petitioner
   had good cause for his failure to exhaust, his unexhausted claims are
   potentially meritorious, and there is no indication that he engaged in
   intentionally dilatory litigation tactics.”).
          As an initial matter, I disagree with the majority’s conclusion that the
   IATC-Participation claim was exhausted in state court. In granting Nelson’s
   COA on this claim, we found that Nelson’s state habeas IATC claim “did
   not touch on Nelson’s allegations in this IATC-Participation claim that
   undiscovered evidence indicating that he played a minimal role in the capital
   murder itself could have been presented to the jury.” Nelson, 952 F.3d at 671–
   72. Nelson’s IATC-Participation claim thus “fundamentally alters” his state
   court IATC claim, which only challenged whether his trial counsel
   sufficiently investigated his “background, history family, and friends.” See
   also 2 Randy Hertz & James S. Liebman, Federal Habeas Corpus Practice &
   Procedure § 23.3c, at 982 (4th ed. 2001) (“The controlling standard seems to
   be that the petitioner exhausts the factual basis of the claim as long as she did
   not [] ‘fundamentally alter the legal claim already considered by the state
   courts[.]’”). The majority faults Nelson’s IATC-Participation claim for also
   being an IATC claim yet fails to meaningfully grapple with the case-specific
   differences in these two claims and the simple fact that his state habeas
   counsel did not raise and the state court did not adjudicate any claim based
   on the allegation that trial counsel failed to gather evidence of Nelson’s
   diminished culpability for the murder. Moore v. Quarterman, 533 F.3d 338,




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   341 (5th Cir. 2008) (“Determining whether a petitioner exhausted his claim
   in state court is a case- and fact-specific inquiry.”). Nelson’s IATC-
   Participation claim is thus unexhausted because it was not adjudicated in
   state court.
           Nelson meets the requirements for a Rhines stay to allow him to
   exhaust his IATC-Participation claim in state court. The first requirement—
   “good cause”—is satisfied when state habeas counsel is deficient in failing
   to raise a claim in state habeas proceedings. Ruiz v. Quarterman, 504 F.3d
   523, 529 n.17 (5th Cir. 2007) (recognizing that the “failures” of Texas’ state
   habeas system in affording competent state habeas representation establishes
   equitable good cause for a Rhines stay). Here, Nelson’s state habeas counsel’s
   representation was deficient in failing to raise the IATC-Participation claim
   during state habeas proceedings. The decision to sentence Nelson to death
   was predicated in part on whether Nelson intended to cause death or
   anticipated loss of life, see TEX. CODE CRIM PROC. ART. 37.071 § 2(b)(2), and
   as such, any reasonably competent habeas attorney would have appreciated
   the importance 2 of raising the IATC-Participation claim during the state
   habeas proceeding. Trevino v. Davis, 829 F.3d 328, 348–49 (5th Cir. 2016)
   (state post-conviction counsel’s failure to investigate an IATC claim is
   deficient performance where the “[t]he deficiency in [trial counsel’s]
   investigation would have been evident to any reasonably competent habeas
   attorney.”). Yet not only did state habeas counsel do nothing to investigate
   the IATC-Participation claim, but he also spent only 4.5 hours reviewing trial
   counsel’s records. Here, Nelson’s state habeas counsel was thus deficient




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             This is especially true given Nelson’s testimony at trial that he acted as a lookout
   for his co-conspirators and thus was not substantially involved in the murder, and trial
   counsel’s failure to verify the alibis of Springs and Jefferson.




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   and such deficiency prejudiced Nelson since his underlying IATC-
   Participation claim is substantial.
          The second Rhines requirement—that the underlying claim presented
   is not “plainly meritless”—is also satisfied. As explained above, Nelson’s
   IATC-Participation likely has merit, especially in light of the potential
   evidence he might uncover if allowed to conduct further investigation into
   Springs’ and Jefferson’s role in the murder. Finally, there is no sign of
   “intentionally dilatory litigation tactics” on Nelson’s part that might justify
   a district court’s denial of a Rhines stay. See Rhines, 544 U.S. at 277–78.
   Nelson discovered the underlying bases for his IATC-Participation Claim
   during federal habeas counsel’s investigation, and he filed his federal petition
   shortly thereafter. Because Nelson’s IATC-Participation claim is
   unexhausted and Nelson has met the requirements set forth in Rhines, a stay
   is appropriate. We should reverse the district court’s denial of Nelson’s
   request for a Rhines stay and remand with instructions that the district court
   stay this proceeding to allow Nelson to exhaust his IATC-Participation claim
   in state court.
                                         III.
          Because the district court should have granted Nelson funding to
   further develop his IATC-Participation claim and a Rhines stay to exhaust the
   claim in state court, I respectfully dissent from the majority’s decision to
   affirm the denial of Nelson’s habeas petition based on the incomplete record
   before it. We should instead reverse the district court’s denial of Nelson’s
   requests for funding and a stay, and remand with instructions that the district
   court grant Nelson’s request for investigative services and stay this
   proceeding while Nelson returns to state court to exhaust the IATC-
   Participation claim.




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